280 F.2d 431
    Robert Roland STEWART, Bankrupt,v.Roy E. WARNER, Administrator of the Estate of Elsie WinifredWarner, deceased.
    No. 6355.
    United States Court of Appeals Tenth Circuit.
    May 16, 1960.
    
      Warren Hall Coutts, Jr., El Dorado, Kan., for appellant.
      Roy L. Rogers and Wetmore &amp; Wetmore, Wichita, Kan., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed on motion of appellant.
    
    